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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOHN CURTIS RICE,
                                                                 Docket No. 19-cv-447 (JMF)
                                    Plaintiff,

           - against -                                           REPLY DECLARATION OF
                                                                 RICHARD LIEBOWITZ

 NBCUNIVERSAL MEDIA, LLC

                                    Defendant.




       I, RICHARD LIEBOWITZ, hereby swear under the penalty of perjury that the following

is true and correct to the best of my personal knowledge:

       1.         I am lead counsel for plaintiff John Curtis Rice (“Plaintiff”) and am duly admitted

to practice law in this District and in the State of New York.

       2.         I submit this declaration in further response to the Court’s Order, dated May 2,

2019 [Dkt. # 25] and in reply to Defendant’s declaration in support of fees [Dkt. #27]

Point I:          Rice’s Infringement Claim is Meritorious

       3.         It is well-established that a copyright infringement claim lies where defendant’s

challenged use exceeds the scope or duration of a license. See, e.g., Microsoft Corp. v. Harmony

Computers & Elecs., Inc., 846 F. Supp. 208, 214 (E.D.N.Y. 1994) (“plaintiff's claim that

defendants exceeded the scope of its license agreements states a claim for copyright infringement

rather than breach of contract”).

       4.         Defendant claims that because Plaintiff’s invoice was silent as to duration, the law

presumes duration of the license will extend through the life of the copyright. P.C. Films Corp.
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v. MGM/UA Home Video Inc., 138 F.3d 453, 458 (2d Cir. 1998) (“Under copyright law, where a

contract is silent as to the duration of the grant of copyright rights, the contract is read to convey

rights for the initial copyright period only”).

          5.       However, as noted in my initial declaration, there was no contract here. There

was merely an invoice. If NBC wanted a long-term license, then it was incumbent upon NBC to

secure a proper license for the appropriate duration. Rice’s custom and practice is to grant rights

for a year. As such, Rice’s claim was and is meritorious and plainly meets the requirements of

Rule 11.

Point II:          Defendant Concedes that Monetary Sanctions are Not Available Under Rule
                   11

          6.       Defendant acknowledges that it cannot recover its fees under Rule 11, but instead

urges the Court to impose non-monetary sanctions. [Dkt. # 27, fn. 1]. The Court should decline

to do so because, as explained infra, Rice’s claim was meritorious.


Point III:         Defendant Has Failed to Provide Clear and Convincing Evidence That
                   Liebowitz Acted in Bad Faith So As to Support Sanctions Under Section
                   1927 or the Court’s Inherent Powers

          7.       Section 1927 authorizes the imposition of sanctions when “there is a clear

showing of bad faith on the part of an attorney.” Shafii v. British Airways, PLC, 83 F.3d 566, 571

(2d Cir.1996); accord Oliveri, 803 F.2d at 1273; Salovaara v. Eckert, 222 F.3d 19, 35 (2d Cir.

2000). Similarly, in order to impose sanctions pursuant to its inherent power, “a district court

must find that: (1) the challenged claim was without a colorable basis; and (2) the claim was

brought in bad faith, i.e., motivated by improper purposes such as harassment or

delay.” Schlaifer Nance & Co. v. Estate of Warhol, 194 F.3d 323, 336 (2d Cir. 1999) (underline

added).




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       8.       Here, the only “evidence” that defendant has proffered concerning alleged bad

faith conduct is a disagreement amongst attorneys concerning the duration of the license granted.

A dispute regarding the merits of the claim is not grounds for sanctions under section 1927 or the

Court’s inherent power. The Second Circuit holds that “[v]indication . . . [is a] legitimate

motive[] for bringing a legal action.” Schlaifer Nance, 194 F.3d at 339. As discussed infra, I

filed the claim to vindicate Rice’s interest in the Photograph – and for no other reason.

       9.       For the foregoing reasons, the Court should decline to impose sanctions under

section 1927 or the Court’s inherent powers.

Point IV:       Defense Counsel’s Billing Submissions are Not Reliable Nor Proper and, In
                Any Event, Are Grossly Excessive

       10.      In the Second Circuit, fee awards are calculated using the “presumptively

reasonable fee” approach. Arbor Hill Concerned Citizens Neighborhood Ass 'n v. Cnty. Of Albany,

522 F.3d 182, 189 (2d Cir. 2008). In considering the reasonableness of a fee award, a court

should consider both the reasonableness of the hourly rates and the reasonableness of the hours

spent. See Kingvision Pay-Per-View Ltd v. Zalazar, 653 F. Supp. 2d 335, 343 (S.D.N.Y. 2009).

This method is generally referred to as the “lodestar.” See Perdue v. Kenny A. ex rel. Winn, 559

U.S. 542, 554 (2010) (“[T]here is a ‘strong presumption’ that the lodestar figure is reasonable . . .

.”). The “lodestar” is calculated by multiplying “a reasonable hourly rate and the reasonable

number of hours required by the case.” Millea v. Metro-North R.R. Co., 658 F.3d 154, 166 (2d

Cir. 2011)

       11.      The Second Circuit has established a “hard and bending rule” requiring

submission of contemporaneous time records on fee applications, “from which attorneys may

deviate only in the rarest of cases.” Scott v. City of N.Y., 626 F.3d 130, 133 (2d Cir. 2010)




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(citation omitted); see also id. (noting that after 1983 “there are few examples of this court

permitting a district court to award fees in the absence of full contemporaneous records”).

       12.     Hourly rates are deemed reasonable when they are in line with the rates prevailing

in the district for similar services by lawyers of reasonably comparable skill, experience, and

reputation. Regulatory Fundamentals Grp. LLC v. Governance Risk Mgmt. Compliance, LLC,

No. 13 CIV. 2493 KBF, 2014 WL 4792082, at *1 (S.D.N.Y. Sept. 24, 2014); see also Arbor Hill,

522 F.3d at 192 (courts “should generally use ‘the hourly rates employed in the district inwhich

the reviewing court sits in calculating the presumptively reasonable fee’”) (citation omitted);

Galeana v. Lemongrass on Broadway Corp., No. 10 Civ. 7270 (GBD) (MHD), 2014 WL

1364493, at *13 (S.D.N.Y. Apr. 4, 2014) (in determining whether a fee is reasonable, “the court

may [also] consider rates approved in prior cases and the court’s own knowledge of reasonable

rates in the district.”) (citing Farbotko v. Clinton Cnty., 433 F.3d 204, 209 (2d Cir. 2005)).

       13.     “Courts base the hours inquiry not on what appears necessary in hindsight, but on

whether at the time the work was performed, a reasonable attorney would have engaged in

similar time expenditures.” Mugavero v. Arms Acres, Inc., No. 03-cv-5724 (PGG), 2010

WL451045, at *6 (S.D.N.Y. Feb. 9, 2010) (citation and internal quotation marks omitted).

       14.     Here, the Court’s order to show cause asked Defendant to submit “all billing

records and evidence of costs incurred as a result of this litigation” as a measure of monetary

sanctions to be imposed. [Dkt. #25]

       15.     In response, defense counsel provided a block-billing summary indicating as

follows: “Attorneys (partner and associate) – 25.9 hours - $12,419.50; Paralegal – 1.3 hours -

$234.” [Dkt. #27, ¶ 13] Based on defense counsel’s submission, there is no way to determine the

hourly rate charged by the attorneys involved nor why such an hourly rate would be justified by




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the particular defense attorneys who provided representation. Further, there is no way to

determine how many hours were billed per task. This submission is fatally flawed and warrants

complete denial of any fees.

       16.     Even if the Court were to credit defense counsel’s submission, defense counsel

could not have billed more than 5.0 hours at rate of $250/hr. in representing the defendant,

consisting of as follows:

 Defense Task                                      Reasonable Time      Total (@ $250/hr.)
                                                   Expended
 investigating the allegations in the complaint    0.5 hrs.             $125

 producing the license to Plaintiff                0.1 hrs.             $25

 negotiating with Plaintiff                        0.3 hrs.             $75

 drafting and filing an answer                     1.0 hr.              $250

 considering the potential basis for an early      0.3 hrs.             $75
 motion for summary judgment

 researching and preparing a letter to Plaintiff   1.0 hr.              $250
 regarding his obligations under Rule 11

 preparing a joint letter to the Court and a       1.0 hr.              $250
 case management plan for the initial pretrial
 conference

 preparing for the initial conference              0.3 hr.              $75

 attending the initial conference                  0.5 hr.              $125

 TOTAL                                             5.0 hr.              $1250.00




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       17.     Any paralagel services could not have reasonably exceeded $50. Accordingly,

defense counsel could not have incurred more than $1300.00 in total fees and costs to defend

NBC in this action.

Point VI:      Any Sanctions Imposed Under Rule 16 Should be Limited to $125 (the Fees
               Incurred by Defense Counsel to Attend the Rule 16 Conference)

       18.     Finally, if the Court were to impose sanctions against me for not attending the

Rule 16 initial case management conference, then any sanctions should be limited to the fees

incurred by defendant for its attorney to attend. As indicated above, this would be $125.



Dated: May 21, 2019
Valley Stream, New York

                                                    Respectfully Submitted:

                                                    /richardliebowitz/
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